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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION
 VOTING SYSTEMS, INC., and
 DOMINION VOTING SYSTEMS
 CORPORATION,


                               Plaintiffs,

 v.                                             Civil Case No. 1:21-cv-00040-CJN

 SIDNEY POWELL, SIDNEY
 POWELL, P.C., and DEFENDING THE
 REPUBLIC, INC.,

                              Defendants.



            NOTICE OF WITHDRAWAL AS COUNSEL FOR SIDNEY POWELL

        Pursuant to Local Rule 83.6(b), Howard Kleinhendler notices his withdrawal as

 counsel for Defendant Sidney Powell. Ms. Powell will remain represented in this

 matter by The Kennedys Law firm.


 Dated: July 12, .2022                         Respectfully submitted,

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